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  Case 5:17-cv-00179-JPB Document 1 Filed 12/11/17 Page 2 of 14 PageID #: 2



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WHOHPDUNHWLQJDFWLYLWLHVWRXQVXSHUYLVHGWKLUGSDUWLHVZRXOGOHDYHFRQVXPHUVLQPDQ\FDVHV

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Ruling Concerning the TCPA Rules)&&5FG     ³0D\)&&

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             7KHGD\DIWHUWKH&RPSODLQWZDVILOHGWKH8QLWHG6WDWHVDQG'LUHF79 DQQRXQFHG

DVHWWOHPHQW ([KLELW WKDWUHTXLUHG'LUHF79 WRSD\ DQGDJUHHWR

             D %H SHUPDQHQWO\UHVWUDLQHGDQGHQMRLQHGIURPHQJDJLQJLQYLRODWLRQVRIWKH
                7HOHPDUNHWLQJ6DOHV5XOHLQFOXGLQJEXWQRWOLPLWHGWRLQLWLDWLQJDQ\RXWERXQG
                WHOHSKRQHFDOOVWRDSHUVRQZKHQWKDWSHUVRQSUHYLRXVO\KDVVWDWHGWR'LUHF79 WKDW
                WKH\GLGQRWZLVKWR UHFHLYHDQRXWERXQGWHOHSKRQHFDOOPDGHE\RURQEHKDOIRI
                'LUHF79 ([KLELW , $  

             E %H SHUPDQHQWO\UHVWUDLQHGDQGHQMRLQHGIURPIDLOLQJWRPRQLWRURXWERXQG
                WHOHPDUNHWLQJFDPSDLJQVFRQGXFWHGE\LWVDXWKRUL]HGGHDOHUVId. ,, '    

             F %H SHUPDQHQWO\UHVWUDLQHGDQGHQMRLQHGIURPSURYLGLQJDQ\PRQHWDU\
                FRPSHQVDWLRQIRUDQ\WHOHPDUNHWLQJUHODWHGVDOHVRUDFWLYLWLHVLQFOXGLQJEXWQRW
                OLPLWHGWRKRXUO\UDWHVRISD\RUFRPPLVVLRQVWRDQ\DXWKRUL]HGGHDOHUDIWHU
                ',5(&79NQRZVRUUHDVRQDEO\VKRXOGKDYH NQRZQIDLOHGWRFRPSO\ZLWKWKH
                7HOHPDUNHWLQJ6DOHV5XOHId. ,, ( LL 

             G &HDVHGRLQJEXVLQHVVZLWKDQ\DXWKRUL]HGGHDOHUWKDWIDLOHGWRFRPSO\ZLWKWKH
                7HOHPDUNHWLQJ6DOHV5XOHId. ,, )  DQGWR

             H 'HYHORSDV\VWHPIRUUHFHLYLQJDQGSURPSWO\LQYHVWLJDWLQJDOOFRQVXPHU
                FRPSODLQWVUHODWHGWRYLRODWLRQVE\DQ\DXWKRUL]HGGHDOHUVWKDWKDYHIDLOHGWR
                FRPSO\ZLWKWKH7HOHPDUNHWLQJ6DOHV5XOHId. ,9 $  % 

                 7KH  VHWWOHPHQW GLGQRWVWRS'LUHF79 DQGLWV DXWKRUL]HGGHDOHUVIURP

HQJDJLQJLQLOOHJDOWHOHPDUNHWLQJSUDFWLFHV

                 $VDUHVXOWRQ$SULOWKH8QLWHG6WDWHVILOHGDVHFRQGFRPSODLQW

DJDLQVW'LUHF79

                 7KH DOOHJDWLRQVPDGHLQWKH&RPSODLQWDUHVXEVWDQWLDOO\WKHVDPHDV WKH

FRPSODLQWVPDGHLQWKH&RPSODLQW

                 6KRUWO\WKHUHDIWHUWKH8QLWHG6WDWHVDQG'LUHF79DJDLQ DQQRXQFHGWKDWWKH\

KDGUHDFKHGDQDJUHHPHQW ([KLELW  7KLVWLPH 'LUHF79 DJUHHGWRSD\ DQG WR

             D %HSHUPDQHQWO\UHVWUDLQHGDQGHQMRLQHGIURPHQJDJLQJLQYLRODWLRQVRIWKH
                7HOHPDUNHWLQJ6DOHV5XOHLQFOXGLQJEXWQRWOLPLWHGWRLQLWLDWLQJDQ\RXWERXQG
                WHOHSKRQHFDOOVWRDSHUVRQZKHQWKDWSHUVRQSUHYLRXVO\KDVVWDWHGWR 'LUHF79WKDW
                WKH\GLGQRWZLVKWRUHFHLYHDQRXWERXQGWHOHSKRQHFDOOPDGHE\RURQEHKDOIRI



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                'LUHF79 Id. DW, $  

             E %HSHUPDQHQWO\UHVWUDLQHGDQGHQMRLQHGIURPLQLWLDWLQJDQ\RXWERXQGWHOHSKRQH
                FDOOWKDWGHOLYHUVDSUHUHFRUGHGPHVVDJHRWKHUWKDQDSUHUHFRUGHGPHVVDJH
                SHUPLWWHGIRUFRPSOLDQFH, & 

             F %HSHUPDQHQWO\UHVWUDLQHGDQGHQMRLQHGIURPIDLOLQJWRPRQLWRURXWERXQG
                WHOHPDUNHWLQJFDPSDLJQVFRQGXFWHGE\LWVDXWKRUL]HGGHDOHUVId. DW,, '  
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             G %HSHUPDQHQWO\UHVWUDLQHGDQGHQMRLQHGIURPSURYLGLQJDQ\PRQHWDU\
                FRPSHQVDWLRQIRUDQ\WHOHPDUNHWLQJUHODWHGVDOHVRUDFWLYLWLHVLQFOXGLQJEXWQRW
                OLPLWHGWRKRXUO\UDWHVRISD\RUFRPPLVVLRQVWRDQ\DXWKRUL]HGGHDOHUDIWHU
                ',5(&79NQRZVRUUHDVRQDEO\VKRXOGKDYHNQRZQIDLOHGWRFRPSO\ZLWKWKH
                7HOHPDUNHWLQJ6DOHV5XOHId. DW,, ( LL 

             H &HDVH GRLQJEXVLQHVVZLWKDQ\DXWKRUL]HGGHDOHUWKDWIDLOHGWRFRPSO\ZLWKWKH
                7HOHPDUNHWLQJ6DOHV5XOHId. DW,, )  DQGWR

             I 'HYHORSDV\VWHPIRUUHFHLYLQJDQGSURPSWO\LQYHVWLJDWLQJDOOFRQVXPHU
                FRPSODLQWVUHODWHGWRYLRODWLRQVE\DQ\DXWKRUL]HGGHDOHUVWKDWKDYHIDLOHGWR
                FRPSO\ZLWKWKH7HOHPDUNHWLQJ6DOHV5XOHId. DW,9 $  % 

             $JDLQWKHHQIRUFHPHQWDFWLRQIDLOHGWRFXUE'LUHF79¶VLOOHJDOSUDFWLFHV

             'LUHF79WROG WKHJRYHUQPHQWWKDWLWFRXOGDQGZRXOGVWRSLWVDXWKRUL]HGGHDOHUV¶

LOOHJDOWHOHPDUNHWLQJ%XWE\IDLOLQJWRWDNHHIIHFWLYHDFWLRQWRGRVR'LUHF79LPSOLHGO\

DXWKRUL]HGWKH'HIHQGDQWV¶ YLRODWLRQVRIWKH7&3$

             /DVWO\ZKLOHWKHIDFWVDOOHJHGKHUHLQDUHVXIILFLHQWWRVXVWDLQDFODLPRIYLFDULRXV

OLDELOLW\DJDLQVW'LUHF79WKH)&&KDVKHOGWKDWZKHQYLFDULRXVOLDELOLW\LVDOOHJHG3ODLQWLIIV

PD\REWDLQ³HYLGHQFHRI>DJHQF\@ UHODWLRQVKLSVWKURXJKGLVFRYHU\LIWKH\DUHQRW

LQGHSHQGHQWO\SULY\WRVXFKLQIRUPDWLRQ´0D\)&&5XOLQJ DW

                                     &ODVV$FWLRQ$OOHJDWLRQV

             $VDXWKRUL]HGE\5XOHRIWKH)HGHUDO5XOHVRI&LYLO3URFHGXUH3ODLQWLII VXHV

RQEHKDOIRIDOORWKHUSHUVRQVRUHQWLWLHVVLPLODUO\VLWXDWHGWKURXJKRXWWKH8QLWHG6WDWHV

             7KHFODVVHV RISHUVRQV3ODLQWLII SURSRVHVWRUHSUHVHQWLQFOXGH



                                                  
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&/$66

       $OOSHUVRQVZLWKLQWKH8QLWHG6WDWHVWRZKRPZLWKLQWKHIRXU\HDUVSULRUWRWKH
       ILOLQJRIWKLVDFWLRQ'HIHQGDQWV $& RU,4 D SODFHGDFDOORQD FHOOXODUWHOHSKRQH
       OLQH E  XVLQJ HTXLSPHQW WKDW KDV WKH FDSDFLW\ WR GLDO QXPEHUV DXWRPDWLFDOO\
       ZLWKRXWKXPDQLQWHUYHQWLRQ F RQEHKDOIRI'LUHF79DQG G ZKHUH'HIHQGDQWV¶
       UHFRUGVGRQRWLQGLFDWHSULRUH[SUHVVFRQVHQWIURPWKHUHFLSLHQW

&/$66

       $OOSHUVRQVZLWKLQWKH8QLWHG6WDWHVWRZKRPZLWKLQWKHIRXU\HDUVSULRUWRWKH
       ILOLQJ RI WKLV DFWLRQ 'HIHQGDQWV $& RU ,4 D  SODFHG D FDOO RQ D UHVLGHQWLDO
       WHOHSKRQH OLQH E  XVLQJ DQ DUWLILFLDO RU SUHUHFRUGHG YRLFH F  RQ EHKDOI RI
       'LUHF79DQG G ZKHUH'HIHQGDQWV¶UHFRUGVGRQRWLQGLFDWHSULRUH[SUHVVFRQVHQW
       IURPWKHUHFLSLHQW

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       $OOSHUVRQVZLWKLQWKH8QLWHG6WDWHV D ZKRVHWHOHSKRQHQXPEHUVZHUHOLVWHGRQWKH'R
       1RW&DOO5HJLVWU\DQG E WRZKRPDWDQ\WLPHZLWKLQWKHIRXU\HDUVSULRUWRWKHILOLQJRI
       WKLVDFWLRQPRUHWKDQRQHFDOOZLWKLQDQ\WZHOYHPRQWKSHULRGZDVSODFHGE\'HIHQGDQWV
       $& RU,4 F WRSURPRWHWKHVDOHRI'LUHF79SURGXFWVRUVHUYLFHV

            ([FOXGHGIURPWKHFODVVDUH WKH'HIHQGDQWVDQ\HQWLWLHVLQZKLFKWKH'HIHQGDQWV

KDYH DFRQWUROOLQJLQWHUHVWWKH'HIHQGDQWV¶ DJHQWVDQGHPSOR\HHVDQ\-XGJHWRZKRPWKLVDFWLRQ

LVDVVLJQHGDQGDQ\PHPEHURIWKH-XGJH¶VVWDIIDQGLPPHGLDWHIDPLO\

            7KHSURSRVHGFODVVPHPEHUVDUHLGHQWLILDEOHWKURXJKSKRQHUHFRUGVDQGSKRQH

QXPEHUGDWDEDVHV WKDWZLOOEHREWDLQHGWKURXJKGLVFRYHU\

            7KHSRWHQWLDOFODVVPHPEHUVQXPEHULQWKHWKRXVDQGVDWOHDVW,QGLYLGXDOMRLQGHU

RIWKHVHSHUVRQVLVLPSUDFWLFDEOH

            3ODLQWLII LVD PHPEHURIWKHFODVVHV

            7KHUHDUHTXHVWLRQVRIODZDQGIDFWFRPPRQWR3ODLQWLII DQGWKHSURSRVHGFODVV

LQFOXGLQJEXWQRWOLPLWHGWR

               D    :KHWKHUWKH'HIHQGDQWV XVHGDQ DXWRPDWLFWHOHSKRQHGLDOLQJV\VWHP WRVHQG

                     WHOHPDUNHWLQJFDOOV



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                E    :KHWKHUWKH'HIHQGDQWVXVHGDQDUWLILFLDORUSUHUHFRUGHGYRLFHWRGHOLYHUD

                      PHVVDJH

                F    :KHWKHUWKH 'HIHQGDQWV SODFHGWHOHPDUNHWLQJFDOOVZLWKRXWREWDLQLQJWKH

                      UHFLSLHQWV¶YDOLGSULRUH[SUHVVZULWWHQFRQVHQW

                G    :KHWKHUWKH'HIHQGDQWVSODFHGPRUHWKDQRQHFDOOZLWKLQDPRQWKSHULRG

                      WRQXPEHUVRQWKH'R1RW&DOO5HJLVWU\

                H    :KHWKHUWKH'HIHQGDQWV¶ YLRODWLRQVRIWKH7&3$ZHUHQHJOLJHQWZLOOIXORU

                      NQRZLQJDQG

                I    :KHWKHUWKH3ODLQWLII DQGWKHFODVVPHPEHUVDUHHQWLWOHGWRVWDWXWRU\

                      GDPDJHVEHFDXVHRIWKH'HIHQGDQWV¶ DFWLRQV

             3ODLQWLII¶V FODLPVDUHEDVHGRQWKHVDPHIDFWVDQGOHJDOWKHRULHVDQGWKHUHIRUHDUH

W\SLFDORI WKHFODLPVRIFODVVPHPEHUV

             3ODLQWLII LVDQ DGHTXDWHUHSUHVHQWDWLYHRIWKHFODVVHV EHFDXVHKHU LQWHUHVWV GRQRW

FRQIOLFWZLWKWKHLQWHUHVWVRIWKHFODVVHV VKH ZLOOIDLUO\DQGDGHTXDWHO\SURWHFWWKHLQWHUHVWVRIWKH

FODVVHVDQGVKHLV UHSUHVHQWHGE\FRXQVHOVNLOOHGDQGH[SHULHQFHGLQFODVVDFWLRQVLQFOXGLQJ

7&3$FODVVDFWLRQV

             7KHDFWLRQVRIWKH'HIHQGDQWV DUHDSSOLFDEOHWRWKHFODVVHV DQGWR3ODLQWLII

             &RPPRQTXHVWLRQVRIODZDQGIDFWSUHGRPLQDWHRYHUTXHVWLRQVDIIHFWLQJRQO\

LQGLYLGXDOFODVVPHPEHUVDQGDFODVVDFWLRQLVWKHVXSHULRUPHWKRGIRUIDLUDQGHIILFLHQW

DGMXGLFDWLRQRIWKHFRQWURYHUV\7KHRQO\LQGLYLGXDOTXHVWLRQFRQFHUQVLGHQWLILFDWLRQRIFODVV

PHPEHUVZKLFKZLOOEHDVFHUWDLQDEOHIURPUHFRUGVPDLQWDLQHGE\'HIHQGDQWV DQG WKURXJK

UHOLDEOHGDWDEDVHV




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             7KH OLNHOLKRRG WKDW LQGLYLGXDO FODVV PHPEHUV ZLOO SURVHFXWH VHSDUDWH DFWLRQV LV

UHPRWHGXHWRWKHWLPHDQGH[SHQVHQHFHVVDU\WRSURVHFXWHDQLQGLYLGXDOFDVHDQGJLYHQWKHVPDOO

UHFRYHULHVDYDLODEOHWKURXJKLQGLYLGXDODFWLRQV

             3ODLQWLII LV QRW DZDUH RI DQ\ OLWLJDWLRQ FRQFHUQLQJ WKLV FRQWURYHUV\ DOUHDG\

FRPPHQFHGE\RWKHUVZKRPHHWWKHFULWHULDIRUFODVVPHPEHUVKLSGHVFULEHGDERYH

                                             /HJDO&ODLPV

                                           &RXQW2QH
                         9LRODWLRQRIWKH7&3$¶VSURYLVLRQVSURKLELWLQJ
                                  DXWRGLDOHG FDOOVWRFHOOSKRQHV

             3ODLQWLII LQFRUSRUDWHV WKHDOOHJDWLRQVIURPDOOSUHYLRXVSDUDJUDSKVDVLIIXOO\VHW

IRUWKKHUHLQ

             7KH'HIHQGDQWVYLRODWHGWKH7&3$HLWKHUGLUHFWO\RUWKURXJKWKHDFWLRQVRI

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             7KH'HIHQGDQWV¶ YLRODWLRQVZHUHZLOOIXO DQGRUNQRZLQJ

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                             SUHUHFRUGHG FDOOVWRUHVLGHQWLDO SKRQHV

             3ODLQWLII LQFRUSRUDWHV WKHDOOHJDWLRQVIURPDOOSUHYLRXVSDUDJUDSKVDVLIIXOO\VHW

IRUWKKHUHLQ

             7KH'HIHQGDQWVYLRODWHGWKH7&3$HLWKHUGLUHFWO\RUWKURXJKWKHDFWLRQVRI

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                                          &RXQW7KUHH
                         9LRODWLRQRIWKH7&3$¶V'R1RW&DOOSURYLVLRQ

             3ODLQWLII LQFRUSRUDWHV WKHDOOHJDWLRQVIURPDOOSUHYLRXVSDUDJUDSKVDVLIIXOO\VHW

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             7KH'HIHQGDQWVYLRODWHGWKH7&3$HLWKHUGLUHFWO\RUWKURXJKWKHDFWLRQVRI

RWKHUVE\LQLWLDWLQJPRUHWKDQRQHWHOHSKRQHFDOOWRWKH3ODLQWLIILQDWZHOYHPRQWKSHULRGZKLOH

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             7KH'HIHQGDQWV¶ YLRODWLRQVZHUH ZLOOIXO DQGRUNQRZLQJ

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       (       7KDWWKH&RXUWDSSRLQWWKHXQGHUVLJQHGFRXQVHODVFRXQVHOIRUWKHFODVV

       )       7KDWWKH&RXUWHQWHUDMXGJPHQWSHUPDQHQWO\HQMRLQLQJWKH'HIHQGDQWV IURP

HQJDJLQJLQRUUHO\LQJXSRQWHOHPDUNHWLQJRUDOWHUQDWLYHO\IURPHQJDJLQJLQRUUHO\LQJXSRQ

WHOHPDUNHWLQJWKDWYLRODWHVWKH7&3$

       *       7KDWVKRXOGWKH&RXUWSHUPLW'HIHQGDQWV WRHQJDJHLQRUUHO\RQWHOHPDUNHWLQJLW

HQWHUDMXGJPHQWUHTXLULQJWKHPWRDGRSWPHDVXUHVWRHQVXUH7&3$FRPSOLDQFHDQGWKDWWKH

&RXUWUHWDLQMXULVGLFWLRQIRUDSHULRGRIVL[PRQWKVWRHQVXUHWKDWWKH'HIHQGDQWV FRPSO\ZLWK

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       +       7KDWWKH&RXUWHQWHUDMXGJPHQWDZDUGLQJDQ\RWKHULQMXQFWLYHUHOLHIQHFHVVDU\WR

HQVXUHWKH'HIHQGDQWV¶ FRPSOLDQFHZLWKWKH7&3$

       ,       7KDWWKH&RXUWHQWHUDMXGJPHQWILQGLQJWKDW'HIHQGDQWV DUH MRLQWO\DQGVHYHUDOO\

OLDEOHWR3ODLQWLIIV DQGDOOFODVVPHPEHUVIRUDOOYLRODWLRQVDULVLQJIURPWKHFDOOV



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       -      7KDW'HIHQGDQWV DQGWKHLUDJHQWVRUDQ\RQHDFWLQJRQWKHLUEHKDOYHVEH

LPPHGLDWHO\UHVWUDLQHGIURPDOWHULQJGHOHWLQJRUGHVWUR\LQJDQ\GRFXPHQWVRUUHFRUGVWKDWFRXOG

EHXVHGWRLGHQWLI\FODVVPHPEHUV

       .      7KDWWKH&RXUWHQWHUDMXGJPHQWDZDUGLQJ3ODLQWLII DQGDOOFODVVPHPEHUV

VWDWXWRU\GDPDJHVRIIRUHDFKQHJOLJHQWYLRODWLRQRIWKH7&3$DQGIRUHDFK

NQRZLQJRUZLOOIXOYLRODWLRQ

       /      7KDWWKH&RXUWHQWHUDQRUGHUDZDUGLQJWKH3ODLQWLII UHDVRQDEOHDWWRUQH\V¶IHHVDQG

FRVWVDQG

       0      7KDWWKH3ODLQWLII DQGDOOFODVVPHPEHUVEHJUDQWHGRWKHUUHOLHIDVLVMXVWDQG

HTXLWDEOHXQGHUWKHFLUFXPVWDQFHV

       3ODLQWLIIV UHTXHVWVDMXU\WULDODVWRDOOFODLPVRIWKHFRPSODLQWVRWULDEOH


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UGRQRYDQ#EDLOH\JODVVHUFRP
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